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                                               State of New Jersey
PHILIP D. MURPHY                             OFFICE OF THE ATTORNEY GENERAL                                  MATTHEW J. PLATKIN
    Governor                               DEPARTMENT OF LAW AND PUBLIC SAFETY                                     Attorney General
                                                     DIVISION OF LAW
TAHESHA L. WAY                                            PO Box 45029                                       MICHAEL C. WALTERS
   Lt. Governor                                        Newark, NJ 07101                                            Acting Director


                                                     December 27, 2024

       VIA ECF
       United States District Court for the District of New Jersey
       Martin Luther King Jr. Federal Building & U.S. Courthouse
       50 Walnut Street
       Newark, New Jersey 07101

                        Re: United States, et al. v. Apple Inc.
                            Case No. 2:24-cv-04055 (JXN-LDW)
                            Notice of Substitution of Counsel

       Dear Clerk of the Court:

              This Office, by and through the Attorney General Matthew J. Platkin, represents Plaintiff
       New Jersey in the above-captioned matter. This correspondence is submitted on behalf of Plaintiff
       Connecticut acting by and through its respective Attorney General in the above-captioned matter.
       Pursuant to Local Civil Rule 102.1, I write to respectfully request that the Court approve Assistant
       Attorney General Rahul A. Darwar’s withdrawal as counsel for Plaintiff Connecticut, as he is
       departing the Connecticut Office of the Attorney General effective January 10, 2025.

              Please take notice that Plaintiff Connecticut substitutes as its attorney of record in this
       action Nicole Demers, Deputy Associate Attorney General, in place of Rahul A. Darwar. All
       pleadings and other papers should be served upon Deputy Associate Attorney General Nicole
       Demers who was previously admitted Pro Hac Vice on behalf of Connecticut in this matter on
       May 1, 2024. (ECF No. 35). Assistant Attorney General Rahul A. Darwar should be removed as
       attorney of record for Connecticut.

                  Thank you for your consideration of this matter.




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                                  Respectfully submitted,

                                  MATTHEW J. PLATKIN
                                  ATTORNEY GENERAL OF NEW JERSEY

                                  By:_______________________________
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                                        Attorney for Plaintiffs New Jersey, Arizona,
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                                        Indiana,    Maine,    Massachusetts, Michigan,
                                        Minnesota, Nevada, New Hampshire, New York,
                                        North Dakota, Oklahoma, Oregon, Tennessee,
                                        Vermont, Washington, and Wisconsin

Encs.
CC: All Counsel of Record (via ECF)
